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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

EVDOKIA NIKOLOVA                               §
    Plaintiff,                                 §
                                               §
      vs.                                      §
                                               §            CASE NO. 1:19-cv-00877-RP
UNIVERSITY OF TEXAS AT AUSTIN                  §
    Defendant.                                 §

                  DECLARATION UNDER PENALTY OF PERJURY OF
                            ROBERT W. SCHMIDT

       I, Robert W. Schmidt, declares under penalty of perjury and state as follows:

       1.      My name is Robert W. Schmidt. I am over the age of eighteen (18) years, of

sound mind, and fully capable of making this Declaration. I am fully competent to testify to the

matters stated in this Declaration, of which I have personal knowledge.

                                   Professional Background

       2.      I have been an attorney practicing in Texas for approximately 32 years, focusing

the overwhelming majority of my legal work on representing employees in employment law

matters. I received undergraduate degrees from Oklahoma City University, Magna Cum Luade,

and the University of Texas at Austin, With Highest Honors. I graduated from the University of

Texas School of Law in 1989 from and was admitted to the State Bar of Texas in 1989. I began

working in commercial litigation, including management-side labor and employment law, at the

law firm of Locke Purnell Rain Harrell in Dallas, which has since changed its name to Locke

Lord. I worked for at Locke Purnell for approximately three years and then worked for the State

of Texas (Texas Legislative Counsel, Office of Attorney General and Texas Ethics

Commission) for approximately nine years. I returned to private practice in Austin in

approximately 2002, where I have focused my practice on representing employees in




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 employment law and litigation matters. I have represented and counseled more than a thousand

 clients in employment law matters over that period, including individual consultations and

 analysis of cases, filing charges of discrimination, prelitigation negotiations with employers,

 and employment litigation. I worked for approximately 3.5 years with the law firm of Howard

 and Kobelan, nearly 15 years with the Crews Law Firm, and I recently began my own law firm,

 the Robert W. Schmidt Law Firm.

       3. I actively participate in employment law bar activities. I was voted by the Austin Bar

Association’s Labor and Employment Law Section members to be an officer for three years and to

serve as the section’s Chair in 2015-16. As part of my duties as an officer and Chair of the Austin

Bar Association Labor and Employment Law Section, I planned, coordinated and assisted in

putting on numerous continuing legal education (“CLE”) programs in employment law, including

working with and selecting speakers and topics of importance to the employment law bar. I have

been a member of the State Bar of Texas’ Labor and Employment Law section for many years and

spoke on employment law at the State Bar’s Annual Convention in 2017.

       4. I am also actively involved in private professional lawyers’ associations dedicated to

representing employees in employment law matters. The National Employment Lawyers

Association (“NELA”) is a national association of more than 2000 attorneys who focus on

representing employees in employment law and to advancing equality and justice in the American

workforce. I was recently selected by NELA in 2022 to join NELA’s Board of Directors as a Board

Member. The Texas Employment Lawyers Association (TELA) is an affiliate of NELA and is

made up of approximately more than 150 attorneys in Texas who represent workers and

employees. I have been a member of TELA since 2005 and was selected by TELA to serve as a

Board Member from approximately 2012-2019. I have actively worked to plan and coordinate

CLEs for our membership on employment law. I also served on TELA’s Legislative Committee




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and appeared before committees of the Texas Legislature and provided testimony on employment

legislation. I continue to be active in TELA and still serve on the Legislative Committee.

       5.   I have spoken and written papers and articles on employment law, including at

numerous CLEs as well presentations as for non-lawyer groups with an interest in employment law

matters. Some of my speaking and written papers/articles include:

   •   Houston Bar Association, Labor & Employment Law Section, “Two Years After Bostock:
       What Has Changed for LGBTQ+ Plaintiffs in Employment Cases,” June 2022
   •   Dallas/Fort Worth Employment Lawyers’ Association, “Roundtable Discussion on
       Damages in Employment Law Cases,” June 2022
   •   University of Texas Annual Labor & Employment Law Conference, “2022 Update on
       Selected Topics in Texas Public Sector Employment Law,” May 2022
   •   Disability Rights Texas, “Workplace Discrimination – Deconstructing a Highly Successful
       Jury Trial Verdict,” April 2022
   •   Austin Bar Association, Labor & Employment Law Section, “Sex and Religion: What
       Every Employment Lawyer Needs to Know About The Recent Landmark SCOTUS
       Decisions,” August 2020
   •   State Bar of Texas, Webcast CLE, “LGBT Employees in the Workplace: What You Need
       to Know Now About the Landmark 2020 SCOTUS Decisions,” July 2020
   •   State Bar of Texas, LGBT Law Section Seminar, “LGBTQ Legal Issues in Changing Times:
       What Every Texas Practitioner Needs to Know ,” December 2019
   •   Texas Employment Lawyers’ Association, “Employee Preservation of Evidence,” April
       2019
   •   Austin Bar Association, Labor & Employment Section, “Sexual Harassment and LGBT
       Protections in the #MeToo Era,” April 2019
   •   Texas Employment Lawyers’ Association, “Sexual Harassment in the #MeToo Era,” April
       2019
   •   Austin Bar Association, Labor & Employment Section, “Proving Up Damages In
       Employment Law Cases,” February 2018
   •   State Bar of Texas, Annual Convention, Labor & Employment Section, “Secrets Revealed:
       An Employment Lawyer Discusses Case Selection and Why He’s Suing Your Client,” June
       2017
   •   Texas Bar Journal, “Termination Motivation–Proving Discrimination and Retaliation in
       Employment Law Cases,” March 2017
   •   State Bar Of Texas, Advanced Government Law Seminar, “Here’s What You Did And
       Here’s Why I’m Going To Sue You,” July 2016
   •   Austin Bar Association, Labor & Employment Section, “Electronic Discovery and Privacy
       Issues,” March 2016
   •   Austin Bar Association, Labor & Employment Section, “Pitfalls in Settlements,”, February
       2015
   •   Austin Bar Association, LGBT Section, “A Look at Local, State and Federal Employment
       Non-Discrimination Laws” October 2014




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   •   Austin Capital Area Plaintiffs’ Employment Lawyers Association, “What’s It Worth?”
       October 2013
   •   Job Seekers Network, Hill Country Bible Church, Austin, "Employment Law In 'The Real
       World'" August 2013
   •   Texas Employment Lawyers' Association, Statewide CLE, “Litigation Practicum: Using
       Psychodrama in Litigation,” April 2013
   •   Central Texas Compensation and Benefits Association, "Are We Going To Be Sued? A
       Plaintiff Employment Lawyer Tells All!," January 2013
   •   Austin Bar Association, LGBT Rights Section, "LGBT Employment Law Issues," June
       2012
   •   Austin Bar Association, Labor & Employment Section, "Electronic Discovery Issues in
       Employment Litigation," February 2012
   •   Texas Employment Lawyers' Association, “Strategies for Defeating Non-Compete
       Agreements,” October 2011
   •   University of Texas School of Law, Labor and Employment Law Conference, “An Eye for
       an Eye: How to Prepare and Try a Retaliation Case,” May 2011
   •   Lorman Education Services, Employment Law From A to Z, “At-Will Employment: The
       Rules and the Exceptions, Employment Discrimination and Retaliation, Can’t We All Just
       Get Along?”, April 2011
   •   University of Texas School of Law, “OUTLaw LGBT Advocacy Conference,”
       Employment Discrimination Affecting LGTB Employees,” April 2011
   •   Austin Bar Association, Labor and Employment Section, “Discovery Issues in Employment
       Litigation,” January 2011
   •   Austin Human Resources Management Association, “Squaring Off In the Ring, Plaintiff
       vs. Defense” August 2010

       6. I have received peer recognition for my practice of employment law. I was selected as

a “Super Lawyer” in the field of plaintiff’s employment law from 2014 to the present by in the

Texas Super Lawyers edition of Texas Monthly Magazine (Thompson Reuters) and one of the Top

50 lawyers (across all categories) in Central and West Texas in 2017 and 2018. My understanding

is that this selection is based off of an evaluation of 12 indicators including peer recognition and

professional achievement in legal practice. (I have never asked anyone to vote for me or

“campaigned” for inclusion.) I also have been rated by the Martindale-Hubbell Peer Review

Ratings as “AV-Preeminent.”

       7. The following is an abbreviated list of my litigation experience, in reverse

chronological order:




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             •   Nikolova v. UT Austin, No. 1-19-cv-877-RP (Austin Division of the Western District

     of Texas – the instant case): I served as plaintiff’s lead counsel in the litigation leading up to

     and including a five-day jury trial in March 2022 concerning claims of gender and pregnancy

     discrimination. The jury awarded damages of $3,050,000.00. The jury verdict has been remitted

     to the statutory cap of $300,000.00 for past and future compensatory damages, $50,000.00 in

     back pay damages. The parties are presently in the process of presenting the Court with

     application and briefing on front pay damages and attorneys’ fees and costs.

             •   Jones v. Tubal Cain Hydraulic Solutions Inc. et al, 4:16-CV-1282 (Houston

     Division of the Southern District of Texas, Judge Andrew Hanen). I represented an African-

     American worker at an oil field supply company who was repeatedly called the “n-word” by

     coworkers and shown drawings representing himself being hung and lynched. This race

     discrimination and retaliation case was legally complicated for multiple reasons including that it

     presented the “joint employer doctrine” because the employing entity declared bankruptcy

     while the suit was pending and thus involved scrutiny of the involvement of the parent and

     related corporate entities. It also involved complicated issues relating to respondeat superior

     and liability based on the failure to act by the plaintiff’s supervisors. I served as plaintiff’s lead

     counsel in the litigation, including defeating motions to dismiss, filing plaintiff’s motion to

     compel and dealing with multiple discovery disputes, taking numerous depositions, defeating

     defendant’s motion for summary judgment and filing an MSJ on behalf of the plaintiff, and

     ultimately culminating in an approximately five-day bench trial in late 2019 in front of Federal

     District Court Judge Andrew Hanen, who ultimately ruled on behalf of the defendants. 1




1.   1
      I have included cases that were lost because they reflect significant trial and litigation
     experience. I believe that taking a case to trial, even when the result is a loss, enhances my legal
     skill.




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       •    Chavez v. Hearne Independent School District, 6:17-cv-148, (Waco Division of the

Western District of Texas, Judge Alan Albright): I represented a woman who had worked for

approximately 40 years for a school district as a teacher’s aide, school secretary and

administrative assistant but who was fired four months after she filed a charge of

discrimination. I served as plaintiff’s lead counsel in the litigation, including defeating motions

to dismiss, filing plaintiff’s motion to compel and dealing with multiple discovery disputes,

taking numerous depositions, defeating defendant’s motion for summary judgment and filing an

MSJ on behalf of the plaintiff, and ultimately culminating in an approximately four-day jury

trial in early 2019 in front of Federal District Court Judge Alan Albright. The jury ultimately

came back with a verdict for the defendant.

       •    Richard Huggins v. Capital Excavation Company, D-1-GN-14-003073, (Travis

County State District Court, then transferred to arbitration with Susan Burton, arbitrator): I

represented a mechanic/maintenance employee who worked for approximately 26 years for

defendant. Plaintiff had several disabilities including diabetes and Tourette Syndrome (causing

involuntary blinking and body movement) and was terminated approximately three months after

filing a charge of discrimination. The case was referred to mandatory arbitration where I served

as the sole attorney. The arbitration included discovery disputes, responding to and defeating

defendant’s motion for summary judgment, and ultimately a 5 day hearing/trial presenting fact

and expert witnesses and resulted in an award on behalf of the plaintiff of approximately

$159,000 in back and front pay.

       •    Emilio Del Bosque v. Starr County, Texas et al, 14-cv-00017, Victor Cano et al v.

Starr County, Texas et al, 7:13-cv-576, (McAllen Division, Southern District of Texas, Judge

Micaela Alvarez): I represented three county road crew manual laborers who were terminated

by a Starr County Commissioner within months after reporting to the District Attorney that the




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Commissioner had illegally used county workers and property for personal use. I was lead

counsel and taking multiple depositions and conducting extensive document discovery. The

case was dismissed on summary judgment and we appealed to the Fifth Circuit. After briefing

and oral argument, the Fifth Circuit reversed the summary judgment, Bosque v. Starr Cty., 630

F. App'x 300 (5th Cir. 2015) (per curium) and remanded to district court where the parties

settled the claims.

       •    John Doe, Adam Doe, Brian Doe and Cole Doe v. Martin Turner et. al., D-1-GN-

11-000433, (Travis County State District Court). I along with two other attorneys represented

four brothers who were sexually assaulted by their Boy Scout troop leader. (The troop leader

pled guilty to criminal sexual assault charges and was incarcerated.) The civil litigation

involved significant pretrial discovery, including numerous depositions, retaining of expert

witnesses, and responding to and defeating defendant’s motion for summary judgment

involving complicated legal issues regarding the liability of the Boy Scouts of America, a

nonprofit organization, for the acts of one of its troop leaders, including issues of failure to train

and take appropriate actions to prevent such sexual abuse. The jury ultimately returned a verdict

in for plaintiffs of $1.35 million, which was reduced substantially due to the jury’s finding of

contributory negligence of the boys’ parents.

       •    Michael Collier v. Texas Tech University, 2008-545,781 (Lubbock County State

District Court) I represented a Deaf tenure track professor of American Sign Language who was

terminated after his first tenure track year at Texas Tech. I was responsible for all pretrial

litigation matters, including taking numerous depositions, reviewed thousands of pages of

documents obtained in discovery, and defeated defendant’s motion for summary judgment. I

was joined in trial by three additional attorneys and the Lubbock jury ultimately returned a

verdict against Texas Tech in favor of the plaintiff for $547,641.00. The parties ultimately




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settled the matter.

       •    Shelton Charles v. Texas Lottery Commission, et al., 1:06-cv-00158-LY, (Austin

Division, Western District of Texas, Judge Lee Yeakel). I represented a state Lottery

Commission employee who was terminated shortly after reporting violations of law and misuse

of government funds. Defendants’ appealed the district court’s denial of a motion for summary

judgement on the basis of qualified immunity. The Fifth Circuit ruled in favor of the plaintiff

and remanded the case in Charles v. Grief, 522 F.3d 508 (5th Cir. 2008) (cited 213 times). After

remand, the parties settled the matter.

                                            My Rate

       8.      The hourly rate I am requesting in this case is $625. I exclusively handle cases

involving the filing and trying of lawsuits on a contingency basis, in which I am paid by the

defendant; either through attorney’s fees awarded by the Court, the jury, or through a percentage

of a settlement by agreement with my client. I have determined $625 as my reasonable hourly

rate through my involvement and work in and knowledge of the Austin legal market, my

involvement and work with other attorneys in professional employment lawyer organizations

such as TELA and NELA, my review of the 2022 survey of hourly rates put forth by TELA (Ex.

2 to the Declaration of David Wiley) and the declarations of Butch Hayes and David Weiser

(Exs. 6 and 7) with knowledge of the Austin legal market and the skill, experience and reputation

used in determining those rates.

                        Exhibits 3A and 3B and Timekeeping Practices

       9.      Throughout the years I have worked on this case, I have made contemporaneous

time records and linked my time records to contemporaneous documentation of my work to

within a tenth of an hour identifying when the work began and ended. These contemporaneous

timekeeping records are the basis for the time records attributed to my work within Exhibit 3 to



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the motion for reasonable fees and costs, and I affirm they are a true and correct billing record of

the time I spent on this case: the hours shown on Exhibit 3 and 3B as having been expended by

me were actually expended by me on the topics stated and for the time stated. These time records

have been checked against other “‘contemporaneous records, briefs, or memoranda to ensure

against recording errors,’” Cobell v. Norton, 407 F. Supp. 2d 140, 155 (D.D.C. 2005), and have

been edited for clarity and completeness so as “to allow ‘this Court to make an informed decision

about the relevance and appropriateness of the entry.’” Id. To the extent the hours have not been

reduced in the exercise of billing judgment, these hours were reasonable for the work of

representing our client in this matter.

       10.     Exhibits 3A and 3B also include the time entries of Robert E. McKnight. Mr.

McKnight has a well-earned and deserved reputation for assisting the counsel of prevailing

plaintiffs in preparing and submitting motions for reasonable attorney’s fees and costs. I have not

researched, drafted or presented nearly as many motions for attorneys’ fees and costs as Mr.

McKnight, and those motions were a good number of years ago. Thus, I do not have anywhere

near as much experience, knowledge or skill regarding such motions for fees as Mr. McKnight.

Therefore, both I and Robert Notzon asked Mr. McKnight to assist us in doing this work because

it would have taken both of us much longer to perform on our own. I am aware from my own

experience and the experience of other professional colleagues with whom I have consulted, that

Mr. McKnight performs this work faster than I can, and so I asked him to assist me in this case.

Mr. McKnight has provided his own testimony in support of the plaintiff’s fee motion averring to

the accuracy and reasonableness of the process in supporting and filing this fee motion.

                                          Billing Judgment

       11.     The plaintiff alleged multiple causes of action in this case, which were

eventually reduced both through motion practice and voluntarily to only two claims: gender




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and pregnancy discrimination; both of which the plaintiff prevailed on as documented in the

jury verdict in this case. (Doc. 95) Pursuant to the jury’s verdict and prior to full briefing on

front pay damages, the Court has entered final judgment (Doc. 106) for

             •   back pay of $50,000;

             •   compensatory damages (for past and future injuries) of $300,000 (reduced

                 from $3,000,000 awarded from the jury because of statutory caps on such

                 damages);

             •   pre-judgment interest in the amount of $8,170.05;

             •   post-judgment interest to be calculated pursuant to 28 U.S.C. §1961 on the date

                 judgment is paid.


       12.       In recognition of the dismissed/withdrawn claims – disparate impact

discrimination, Equal Pay Act, and retaliation – we have voluntarily reduced or removed

almost the entire amount of time from our records attributable to those dismissed/withdrawn

claims. Or put another way, work that was not attributable to producing, presenting, and

arguing evidence before the jury in support of the gender and pregnancy discrimination claims

has been removed from the time records as compensable time. To the extent I have not

deducted other time that may have been spent over the life of the case on the

dismissed/withdrawn claims, it is because that work was not discrete from, but was instead

intertwined with, the work on the successful discrimination claims:

                 In some cases a plaintiff may present in one lawsuit distinctly different
             claims for relief that are based on different facts and legal theories. In such
             a suit, even where the claims are brought against the same defendants—
             often an institution and its officers, as in this case—counsel’s work on one
             claim will be unrelated to his work on another claim…. The congressional
             intent to limit awards to prevailing parties requires that these unrelated
             claims be treated as if they had been raised in separate lawsuits, and



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             therefore no fee may be awarded for services on the unsuccessful claim.

                 … Many civil rights cases will present only a single claim. In other
             cases the plaintiff’s claims for relief will involve a common core of facts
             or will be based on related legal theories. Much of counsel’s time will be
             devoted generally to the litigation as a whole, making it difficult to divide
             the hours expended on a claim-by-claim basis. Such a lawsuit cannot be
             viewed as a series of discrete claims. Instead the district court should
             focus on the significance of the overall relief obtained by the plaintiff in
             relation to the hours reasonably expended on the litigation.

                 Where a plaintiff has obtained excellent results, his attorney should
             recover a fully compensatory fee. Normally this will encompass all hours
             reasonably expended on the litigation …. [T]he fee award should not be
             reduced simply because the plaintiff failed to prevail on every contention
             raised in the lawsuit. Litigants in good faith may raise alternative legal
             grounds for a desired outcome, and the court’s rejection of or failure to
             reach certain grounds is not a sufficient reason for reducing a fee. The
             result is what matters.

Hensley v. Eckerhart, 461 U.S. 424, 434–35 (1983) (footnote omitted).

       13.      Here, the dismissed/withdrawn claims were “related legal theories” for explaining

the adverse action that the jury found that the defendant had taken against the plaintiff. Although

we have removed almost all time relating to the legal research, conferral regarding these claims

and drafting pleadings, discovery or other documentation, to the extent certain, limited time

remains that may relate to those claims, it would not be accurate or fair to remove that work that

was performed and we have not removed. For example, Dr. Shane Thompson was originally

retained as an expert for purposes of reviewing the evidence and data produced by UT that

showed trends relating to the tenure of female tenure-track professors and those tenure-track

professors who had used child leave policies. This was initially intended to support Plaintiff’s

disparate impact claim, however, in spite of the decision to not pursue the disparate impact

claim, the evidence reviewed by Dr. Thompson and his statistical analysis and expert opinions

relating to gender bias trends in tenure at UT were admitted to the jury in support of the gender

and pregnancy discrimination claims. For example, Dr. Thompson was able to determine and




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testified to the jury that women were four times less likely to be tenured “early” at UT in the

Cockrell School of Engineering than male professors. Dr. Thompson also testified that the

statistical probability that Dr. Nikolova would receive tenure was 96 percent based on her record

and the votes for her tenure when compared to others tenure candidates, that she was the only

candidate in approximately 9 years to have received a unanimous vote from the College’s

Promotion and Tenure Committee to not have received tenure, and that her tenure denial was

statistically unexplainable for non-discriminatory reasons.

       14.     Further, the dismissed/withdrawn claims made no difference to the relief

obtained. That is, even if plaintiff had continued to pursue those claims and obtained jury

verdicts in her favor, the plaintiff would not have been entitled to any more damages than she

obtained in this case. Hence, the dismissal/withdrawal of those claims never affected the

quantum of damages that the plaintiff claimed, nor was awarded.

       15.     In addition to the reductions described herein, I have made other reductions in

the exercise of billing judgment; these are documented in Exhibits 3A and 3B. These reductions

include, but are not limited to, work performed of which I felt were not as efficiently performed

as I am professionally willing to verify and seek; therefore, I have decided not to seek

compensation for their time.

       16.     I have no travel time expended, documented, or requested in this case.

       17.     I personally billed almost no or extremely limited time for non-lawyer,

administrative tasks. When I sometimes recorded that time, I reduced my time entries in Exhibit

3 in order to reduce or eliminate such time on non-lawyer tasks. At Crews Law Firm, we also

had two persons who performed legal and administrative assistant tasks. I have included a

record of those tasks and the time expended as an attachment to this declaration, but am not

asking for compensation for that time as it is overwhelmingly for administrative, “secretarial”




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or non-lawyer functions.

        18.     This case was litigated and prepared by Mr. Notzon and me. Discovery was

substantial: the plaintiff took seven depositions, and the defendant took the plaintiff’s

deposition and the depositions of three of the plaintiff’s experts. Both parties were sufficiently

cooperative in discovery that neither filed a motion to compel against the other. Besides the

substantial number of depositions taken in this case and the larger number of experts than are

typical in employment discrimination cases, there were a very large number of documents

produced in this case by UT – over 37,000 pages, which is also much larger than is produced in

a typical single plaintiff employment discrimination case, there was no feature of the attorneys

from both sides that unnecessarily or unreasonably increased the amount of time/fees required

to try this case.

        19.     Notwithstanding the parties’ cooperative approach to discovery, the defendant

litigated this case vigorously, including filing a motion to dismiss, an extensive motion for

summary judgment and a late-filed motion to strike our expert, Dr. Glick, and our objection

to the Report and Recommendation to strike Dr. Glick, on which the plaintiff prevailed. The

Defendant also did not/would not engage in any meaningful settlement discussions in this

matter. Prior to filing the Charge of Discrimination, I approached then in-house counsel for

UT Austin, Jessica Sentz, who I had worked with on previous matters, and attempted to

engage UT Austin in discussions to resolve this matter amicably without litigation, even

prior to the negative tenure decision. UT declined to engage in such discussions but instead,

doubled down on its decision to deny tenure to Dr. Nikolova. This included UT’s initial

rejection of UT’s own committee responsible for reviewing tenure decisions, CCAFR, that

issued findings after an investigation that identifying significant irregularities and

recommended that the decision be reconsidered. UT also rejected and never even responded




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to Dr. Nikolova’s own detailed Request for Reconsideration or “Final Arguments.” (UT

Austin only responded to Dr. Nikolova’s Request for Reconsideration sent on or about

March 25, 2019 after this case was tried to verdict, when it sent Dr. Nikolova a letter on or

about July 15, 2022.)

       20.     After filing the charge of discrimination, I again approached UT’s in-house

counsel with the hopes of resolving this matter without litigation, but UT declined. My

understanding based on conversations with UT’s attorney as well as my experience working

with other cases against governmental bodies as well as speaking with other attorneys was

that it would be nearly impossible for UT to engage in any meaningful settlement discussions

regarding the tenure denial in this matter. This is because settlements with state

governmental entities are public under the Texas’ Public Information Act. If UT paid money

or reversed its decision to settle this this tenure denial case, it would arguably “open the

floodgates” to future litigation whenever a professor was denied tenure. Additionally, any

settlement after litigation this litigation was filed would have required UT to make one of

two decisions. First a settlement would likely require UT Austin reverse the decision made

by its president, provost, president’s committee and dean, which had previously been

affirmed and doubled down on at least twice. This included UT’s initial rejection of the

CCAFR’s findings from its investigation that identifying significant irregularities and

recommended that the decision be reconsidered, and Dr. Nikolova’s own detailed request for

reconsideration or “Final Arguments,” which were ignored and never responded to until after

this case was tried to verdict. The second possibility for a settlement would almost

necessarily include the payment of money to Dr. Nikolova to compensate her for the denial

of tenure/adverse employment action. Dr. Nikolova remained an employee at UT Austin

throughout this litigation and my experience over my many years of working as a plaintiff




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 side employment lawyer, including bringing claims against government employers and

 universities, is that an employer will almost never pay money to resolve a current employee’s

 claims without that employee’s resignation of employment, which was not a realistic

 possibility in this case without Dr. Nikolova obtaining tenure. During the litigation, neither

 party made settlement offers to the other or offered to engage in mediation. I raised this issue

 with opposing counsel after summary judgment was denied and the parties were preparing

 for trial. UT’s attorneys did not respond regarding this issue.

                                 LOCAL RULE CV-54 Affirmation

        21.     Pursuant LOC. R. CV-54, I affirm that all of the hours expended by me for

 which compensation is sought in this motion were actually expended on the tasks and topics as

 stated in the Exhibits 3A and 3B, that the hours expended as stated in those exhibits for

 compensation (i.e., net of any reductions or adjustments) were reasonable, and that the rates

 claimed were reasonable at the times when the work was performed.

                                                Costs

       22.    The plaintiff incurred recoverable costs through me. These costs are itemized by

category and totaled in Exhibit 4. I have reviewed these costs in Exhibit 4 and hereby certify that

all of the costs for items and services reflected there were actually and necessarily expended. All of

these costs are of the type that are normally charged to my clients.

       I declare under penalty of perjury that the foregoing is true and correct. Executed on

September 13, 2022.




                                                      __________________________________
                                                      Robert W. Schmidt




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